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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND




 Planet Aid, Inc., and Lisbeth Thomsen,

                              Plaintiffs,
                                                     Civil Docket No. 1:16-cv-02974 (GLR)
       v.

 Reveal, Center for Investigative Reporting,
 Matt Smith, and Amy Walters,

                              Defendants.



        DECLARATION OF MATT SMITH IN SUPPORT OF DEFENDANTS’
       MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION AND
      IMPROPER VENUE, OR IN THE ALTERNATIVE TO TRANSFER VENUE

I, Matt Smith, declare:

1.     I am over the age of 18 and have personal knowledge of the facts stated in this

       declaration and could competently testify them if called as a witness. I make this

       declaration in support of Defendants’ Motion to Dismiss for Lack of Personal Jurisdiction

       and Improper Venue, or In the Alternative to Transfer Venue.

2.     I am an investigative reporter with the Center for Investigative Reporting (“CIR”) in

       Emeryville, California. I have been employed in this capacity, full-time with CIR since

       March of 2012.

3.     I live and work in California, where I have been a resident since 1964. When I’m not

       traveling for reporting, I work out of CIR’s office in Emeryville, California.

4.     I received a Bachelor’s degree in political science from Reed College in 1990, and a

       Master’s degree from Columbia University’s Graduate School of Journalism in 1992. I
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     have been a full-time working journalist for a quarter century, serving from 1997 to 2011

     as lead columnist for the San Francisco publication of Village Voice Media, covering

     Mexico, Central America and the Caribbean as a staff journalist for Dow Jones & Co.,

     from 1993 to 1996, and prior to that working on staff at newspapers and wire services in

     Mexico, Virginia, Idaho, New Mexico, Mexico and California.

5.   Over the years I have been received a number of journalism honors. These have

     included: In 2015, The Society of Professional Journalists, Northern California Chapter,

     award for Explanatory Reporting, first place Gerald Loeb Awards, Images/Visuals,

     finalist, visuals category, for a graphic novel I illustrated for The Guardian; South Asian

     Journalist’s Association, outstanding business story. In 2014, the Society of American

     Business Editors and Writers Best in Business, Technology, first place. In 2010, a special

     “Economy” award from the Society of Professional Journalists, Northern California

     chapter; Third Place, national Alternative Newsweekly Awards, political column

     category. In 2008, second place, Peninsula Press Club Award, political columns. In 2007,

     first place, The Peninsula Press Club’s greater Bay Area Journalism Award, columns

     news/political. In 2007, Finalist, The Western Publishing Association’s Magazine

     Awards, best consumer affairs essay. In 2005, second place, national Alternative

     Newsweekly Awards, political column. In 2004, first place, California Newspaper

     Publisher Association/Better Newspapers Award, Investigative or Enterprise Reporting

     category. In 2002, finalist, 2001 Gerald Loeb Awards for Distinguished Business and

     Financial Journalism. In 2000, first place Sports Story, second place Business Story,

     California Newspaper Publishers Association Better Newspapers contest, large weekly

     newspapers. In 1999, first place, Missouri Lifestyle Journalism Award, Fashion & Design
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     category. In 1998, first place, Western Publications Association magazine journalism

     contest, Best Interview/Profile. In 1995, reporting on the Latin American financial crisis

     was selected from work by the company’s 500 reporters and editors for the Dow Jones

     Newswire Award.

6.   Along with reporter Amy Walters, I reported the following stories concerning Planet Aid

     that are the basis of this lawsuit:

      March 19, 2016 Reveal Article and Radio Broadcast: “Alleged Cult Leader Plays
       Shell Game with US Foreign Aid” (Exh. A to Complaint);
      May 23, 2016 Reveal Article “US Taxpayers Are Financing Alleged Cult Through
       African Charities” (Exh. B to Complaint);
      May 23, 2016 Reveal Article “Planet Aid’s Ubiquitous Clothing Donation Boxes
       Aren’t So Charitable” (Exh. C to Complaint);
      May 23, 2016 Article “The Teachers Group: From Idealistic Commune to ‘Money
       Making Machine’” (Not Attached to Complaint);
      August 1, 2016 Article “UNICEF Cuts Off Funding to Nonprofit Linked to Alleged
       Cult” (Exh. D to Complaint);
      August 8, 2016 Reveal Article “Weekly Reveal” (Not Attached to Complaint);
      August 17, 2016 Reveal Article “Congresswoman Calls For US Investigation of
       Planet Aid” (Exh. E to Complaint); and


7.   In connection with the Planet Aid investigation identified in paragraph 5, the focus of

     which was Planet Aid’s operations in Malawi, I personally traveled to interview people in

     New York; Washington D.C.; California; South Africa; Malawi, Mexico; and Denmark,

     and conducted more than 100 interviews by telephone in dozens of cities in the U.S.,

     southern and central Africa, Denmark, China, the UK, and Mexico. However, I did not

     conduct work in Maryland other than photographing the loading dock outside of the

     Planet Aid building in Elkridge, October 2, 2015. The loading dock photos were among
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       hundreds taken for possible use illustrating our stories. The Maryland photos were never

       used. While I was in Maryland, I did not interview anyone about Planet Aid.

8.     Amy Walters and I were interviewed about CIR's Planet Aid investigation by a reporter

       with NBC's station in Washington, D.C. We were both interviewed in CIR's newsroom

       in Emeryville.


       I declare under penalty of petjury under the laws of the United States of America that the

foregoing is true and correct and that this declaration was executed   a~1 lui ~ ,
California on Octobe9-7, 2016.
